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9
                                  UNITED STATES DISTRICT COURT
10
                                         DISTRICT OF ARIZONA
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13   CHRISTOPHER BRITT/PRIVILEY LLC                       Case No.: 2:21-cv-02084-MHB
14                   Plaintiff,
15
     vs.                                                  AFFIRMATION OF BRETT E. LEWIS,
                                                          ESQ. IN SUPPORT OF MOTION TO
16                                                        WITHDRAW AS COUNSEL FOR
     CITADEL LLC and its related entity CE TM
17   HOLDINGS LLC,                                        PLAINTIFF

18                   Defendant.
19
     BRETT E. LEWIS, ESQ., under penalty of perjury, affirm as follows:
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             1.      I am an attorney licensed to practice law in the state of New York and before this
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     Court. I make this affirmation in support of my and my firm’s motion to withdraw as counsel in

23
     this action.

24           2.      My firm was retained to represent Plaintiff Christopher Britt/Priviley LLC in

25   November 2021. As part of Plaintiff’s engagement letter, Plaintiff was responsible for paying a

26   litigation retainer prior to the filing of a Complaint in this action. As of today, Plaintiff has failed

27   to pay the required retainer.

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             3.     On December 8, 2021, before filing the Complaint, my firm sent a PayPal invoice
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     to Plaintiff, consisting of the full retainer and Court filing fees. On the same day, my firm received
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     a PayPal notification that Plaintiff had paid the invoice. We, accordingly, filed the Complaint
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     electronically with the clerk of the Court. However, on December 13, 2021, my firm received
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     another PayPal notification that Plaintiff’s payment had been declined by Plaintiff’s bank.
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             4.     Plaintiff indicated that the payment issue was the result of a mistake, and that the
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     mistake would be corrected before PayPal ran the payment a second time.
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             5.     On December 20, 2021, my firm received a PayPal notification that Plaintiff’s
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     December 8 payment had failed again.
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             6.     I have reached out to Plaintiff numerous times, both before and after December 20,
11
     2021, regarding Plaintiff’s failure to pay the required litigation retainer.       Plaintiff has not
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     responded to any phone calls, emails or text messages concerning non-payment since before
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14
     December 20.

15           7.     On December 29, 2021, I informed Plaintiff that if the retainer was not paid

16   promptly, that we would regrettably be forced to withdraw as counsel. As to today, I received no

17   response to that email. I have since called, texted, and emailed Plaintiff the same message multiple

18   times in an effort to avoid having to petition to withdraw as counsel, with no response.

19           8.     Given the joint issues of failure of payment of our firm’s retainer fee – without the

20   apparent payment of which we never would have filed the Complaint in this action – and Plaintiff’s

21   failure to respond to my calls, emails or text messages, we seek the Court’s leave to withdraw as
22   counsel.
23           9.     We are not asserting a retaining lien in connection with my firm’s representation of
24   this matter.
25           10.    I respectfully request that the motion be granted in full.
26

27   DATED:         Brooklyn, New York
                    January 18, 2022
28                                                                 /s/ Brett E. Lewis_____
                                                                   Brett E. Lewis, Esq.
